Case 4:09-cv-00256- ®@yocumen 11 Filed 05/14/09 al of 3 rae 284

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of IN THE UNITED STATES DISTRICT COURT nn
ao FOR THE NORTHERN DISTRICT OF TEXAS C009 MAY IL PM 4: 28
FORT WORTH DIVISION

CLERK OF COURT

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,

Civ. No.: 09-cv-256 ~ AX

Vv.

KISELAK CAPITAL GROUP, LLC,
GEMSTAR CAPITAL GROUP, INC.,
MICHAEL J. KISELAK, and
JEFFREY J. SYKES,

Defendants.

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UNOPPOSED MOTION TO ENTER AGREED PERMANENT
INJUNCTION AS TO DEFENDANTS MICHAEL J. KISELAK
AND KISELAK CAPITAL GROUP, LLC

Plaintiff Securities and Exchange Commission (“Commission”) files this

Unopposed Motion to Enter Agreed Permanent Injunction and states:

1. The Commission filed suit against Michael J. Kiselak and Kiselak Capital
Group, LLC (“KCG”) (collectively, “the Kiselak Defendants”) on May 11, 2009, alleging
violations of the federal securities laws. That same day, the Court granted a temporary
restraining order and other emergency relief against the Kiselak Defendants (and two
other defendants who are not subjects of this motion). The Court also scheduled a
hearing on the Commission’s application for a preliminary injunction for 10:00 a.m. on
May 20, 2009.

2. Plaintiff immediately served the Kiselak Defendants and_ initiated
settlement discussions. The Kiselak Defendants have agreed to the entry of an order that

permanently enjoins them from future violations of Section 17(a) of the Securities Act of
 

Case 4:09-cv-00256- 4 ocument 11 Filed 05/14/09 PaQ@®2of3 PagelD 285

1933 and Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5
thereunder.

3. On May 14, 2009, the Kiselak Defendants signed an Agreed Permanent
Injunction containing the terms of their agreement with the Commission, which is being
filed simultaneously with this motion.

4. After the Kiselak Defendants and their counsel signed the Agreed
Permanent Injunction, Plaintiff made certain stylistic changes and substituted pages
appearing before the signature page. Specifically, when the Kiselak Defendants printed
the document supplied by Plaintiff, certain section symbols did not print properly.
Plaintiff corrected these errors, with defense counsel’s express permission, and inserted
the corrected versions in front of the signature pages.

For these reasons, the Commission respectfully requests that the Court enter the

agreed permanent injunction.

DATED: May 14, 2009 Respectfully submitted,

 

Hon

 

Toby M. Gdlloway
Texas Bar No. 00790733
J. Kevin Edmundson
Texas Bar No. 24044020
Michael D. King

Texas Bar No. 24032634
Steve Graham

Texas Bar No. 00792542

U.S. Securities and Exchange Commission
Burnett Plaza, Suite 1900

801 Cherry Street, Unit #18

Fort Worth, TX 76102-6882

(817) 978-6447 (tmg)

(817) 978-4927 (fax)

SEC v. Kiselak Capital Group, LLC., et al.
Unopposed Motion to Enter Agreed Permanent Injunction
Page-2
Case 4:09-cv-00256 Document 11 Filed 05/14/09 ©. 30f3 PagelD 286

CERTIFICATE OF CONFERENCE

I certify that I conferred with Cliff Couch, counsel for Defendants Michael J.
Kiselak and Kiselak Capital Group, LLC. on May 14, 2009, regarding the subject matter
of this motion. Mr. Couch stated that, consistent with his signature on the attached
proposed Agreed Order, his clients agreed to the relief sought herein. In addition, Mr.
Couch agreed that Plaintiff could correct certain stylistic errors, as referenced in
paragraph four of the motion, and use the original signature pages.

 

CERTIFICATE OF SERVICE

I certify that on May 14, 2009, I served this Unopposed Motion for Entry of
Agreed Permanent Injunction on all adverse parties by causing a true copy thereof to be
delivered to Federal Express for delivery by priority mail and with air freight charges
prepaid and addressed to:

H. Thomas Fehn

Fields, Fehn & Sherwin

11755 Wilshire Boulevard, 15" Floor

Los Angeles, CA 90025

Counsel for Defendants Gemstar Capital Group, Inc. and Jeffrey J. Sykes

David B. Giles
8140 Walnut Hill Lane, Suite 830
Dallas, TX 75231

Cliff Couch

Attorney and Counselor at Law
4251 FM 2181

Suite 230/525

Corinth, TX 76210

Andrew V. Howard

Attorney and Counselor at Law

3419 Westminster Ave., Suite 228

Dallas, TX 75205

Counsel for Defendants Kiselak Capital Group, LLC and Michael J. Kiselak

Th Gebleue,

Toby M. Galloway

SEC v. Kiselak Capital Group, LLC., et al.
Unopposed Motion to Enter Agreed Permanent Injunction
Page-3

 
